              Case 23-10831-MFW     Doc 937-3   Filed 01/30/24   Page 1 of 2


                                      EXHIBIT B


              (Detailed Description of Expenses Incurred During Fee Period)




166675408v1
                     Case 23-10831-MFW         Doc 937-3        Filed 01/30/24          Page 2 of 2

                                                 TROUTMAN PEPPER

                                                      Thru 12/31/23



                                             DISBURSEMENT DETAIL

              Type          Date          Timekeeper         Description                                  E-Code    Amount

34 Copy Charges           12/04/23   Molitor, Monica A.      Vendor: Parcels, Inc. Invoice#: 1054636      E102         8.44
                                                             Date: 12/4/2023 - Bankruptcy service
                                                             of 1 document to 8 parties via first class
                                                             mail - Bankruptcy service of 1 document
                                                             to 8 parties via first class mail
                                                             [Check No. 796201/Disb ID No.
                                                             17386369]
34 Copy Charges           12/15/23   Molitor, Monica A.      Vendor: Parcels, Inc. Invoice#: 1057162      E102        10.04
                                                             Date: 12/15/2023 - Bankruptcy service
                                                             of 2 documents on 8 recipients via first
                                                             class mail - Bankruptcy service of 2
                                                             documents on 8 recipients via first class
                                                             mail
                                                             [Check No. 796717/Disb ID No.
                                                             17391287]
34 Copy Charges           12/15/23   Molitor, Monica A.      Vendor: Parcels, Inc. Invoice#: 1056984      E102        21.80
                                                             Date: 12/15/2023 - Bankruptcy service
                                                             of 1 document on 15 parties via first
                                                             class mail - Bankruptcy service of 1
                                                             document on 15 parties via first class
                                                             mail
                                                             [Check No. 796717/Disb ID No.
                                                             17391293]
34 Copy Charges           12/22/23   Molitor, Monica A.      Vendor: Parcels, Inc. Invoice#: 1058253      E102        24.92
                                                             Date: 12/22/2023 - Bankruptcy service
                                                             of 1 document on 8 parties via first class
                                                             mail - Bankruptcy service of 1 document
                                                             on 8 parties via first class mail
                                                             [Check No. 796973/Disb ID No.
                                                             17393333]
58 Search Costs           12/15/23   Weiss, Andrew J.        VENDOR: Pacer Service Center                 E106        77.80
                                                             INVOICE#: 11302023 DATE:
                                                             11/30/2023 Document Retrieval
                                                             [Check No. 796811/Disb ID No.
                                                             17390896]
53 Transcript Cost        12/06/23   Henry, Susan M          Vendor: Reliable Copy Service Invoice#:      E116        64.80
                                                             WL114074 Date: 12/6/2023 -
                                                             Transcript concerning Lordstown case -
                                                             Transcript concerning Lordstown case
                                                             [Check No. 797117/Disb ID No.
                                                             17392819]

                                                                                                            Total    207.80
